               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF WISCONSIN


BLONG YANG, et al.,

            Plaintiffs,

      v.                                   Case No. 20-CV-760

SUSAN POWERS, et al.,

            Defendants.


   STIPULATION REGARDING DEADLINE FOR ANSWERING OR
   OTHERWISE RESPONDING TO THE AMENDED COMPLAINT


      The undersigned parties hereby stipulate that the deadline for the

defendants in this matter to answer or otherwise respond to the Amended

Complaint (Dkt. 2) shall be either the date on which responsive pleadings are

due under Fed. R. Civ. P. 12(a)(1)(A) or fourteen days after the Court issues a

decision on the plaintiffs’ preliminary injunction motion (Dkt. 24), whichever

date is later. It is the intention of the undersigned parties that this modified

deadline shall apply to all the defendants in this matter, including any who

have not yet made a formal appearance.




                           [signature pages follow]




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Dated this 10th day of July, 2020.


                              s/ Joseph W. Voiland
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                              Veterans Liberty Law

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                              Attorney General of Wisconsin

                              s/ Thomas C. Bellavia
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                              and Blackdeer

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                              and Warden

                              s/ Remzy D. Bitar
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                              Sandoval, Beth, Cardamone, and Smith




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                           /s Jasmyne M. Baynard
                           JASMYNE M. BAYNARD
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                           Bowersox, and Ward

                           /s Gregory P. Kruse
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                           Milwaukee City Attorney

                           Attorney for Defendants Kowalik and
                           Bhattacharyya




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